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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION


 UNITED STATES OF AMERICA,                              CR 21–03–BLG–DLC

                  Plaintiff,

          vs.                                                  ORDER

 RANS RAY CARROLL, JR.,

                  Defendant.


         This matter comes before the Court on the United States’ amended motion

for final order of forfeiture. (Doc. 60.) Having reviewed the motion, the Court

finds:

         1.      The United States commenced this action pursuant to 21 U.S.C.

§ 853(a)(1) and (2);

         2.      An amended preliminary order of forfeiture was entered on June 8,

2022;

         3.      All known interested parties were provided an opportunity to respond,

and publication has been effected as required by 21 U.S.C. § 853(n)(1) (Docs. 38,

47);

         4.      There appears there is cause to issue a forfeiture order under 21

U.S.C. § 853(a)(1) and (2).
                                             1
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        It is therefore ORDERED that:

        1.      The motion for final order of forfeiture (Doc. 60) is GRANTED.

        2.      Judgment of forfeiture of the following property shall enter in favor of

the United States, pursuant to 21 U.S.C. § 853(a)(1) and (2), free from the claims

of any other party:

     • $6,073.00 in United States currency;

     • a Beretta PX4 Storm, semi-automatic pistol CAL: 40 (serial number

        PY29811);

     • a Savage, model 220A, 16-gauge break-action shotgun (no serial number);

        and

     • 3 loaded magazines of ammunition CAL: 40.

3.      The United States shall have full and legal title to the forfeited property and

may dispose of it in accordance with law.

        DATED this 24th day of June, 2022.




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